                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


BONGO PRODUCTIONS, LLC, et al.,                       )
                                                      )
       Plaintiffs,                                    )
                                                      )
       v.                                             )              Civ. Action
                                                      )              No. 3:21-cv-00490
                                                      )              Judge Trauger
CARTER LAWRENCE, et al.,                              )
                                                      )
       Defendants.                                    )
                                                      )

    STIPULATION OF VOLUNTARY DISMISSAL OF PLAINTIFFS SANCTUARY
                PERFORMING ARTS LLC AND KYE SAYERS

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties to this cause, through their counsel,

respectfully stipulate that all claims asserted by Plaintiffs Sanctuary Performing Arts LLC and

Kye Sayers against Defendants Carter Lawrence, Christopher Bainbridge, Glenn R. Funk, and

Neal Pinkston may be dismissed without prejudice. Dismissal of the claims of Plaintiffs

Sanctuary Performing Arts LLC and Kye Sayers will have no impact on the claims asserted by

remaining Plaintiffs, Robert Bernstein and Bongo Productions LLC.



Dated January 28, 2022.




                                              Respectfully submitted,
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                                              Stella Yarbrough (No. 33637)
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 28, 2022, a true and correct copy of the foregoing report

was served on the Tennessee Attorney General’s Office, counsel for all Defendants, via the

Court’s ECF/CM system.


                                                            /s/ Stella Yarbrough
                                                            Stella Yarbrough




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